              IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          1:99-CV-00764


JEFFREY CLAYTON KANDIES,             )
                                     )
Petitioner,                          )
                                     )
            v.                       )
                                     )
CARLTON JOYNER, Warden,              )
                                     )
Respondent.                          )
               _______________________________________


          REPLY IN SUPPORT OF PETITIONER’S MOTION
      TO ALTER OR AMEND PURSUANT TO FED. R. CIV. P. 59(e)

      NOW COMES Jeffrey Clayton Kandies, by and through his undersigned

counsel, and provides the following reply to the Respondent’s Response (Docket

No. 151) to Petitioner’s Motion to Alter or Amend Judgment Pursuant to Fed. R.

Civ. P. 59(e) (Docket No. 149). Petitioner filed a Rule 59(e) motion asking this

Court to correct clear errors of law and to prevent manifest injustice and, in the

alternative, to amend the judgment by granting a certificate of appealability. The

Respondent’s Response fails to address the key points raised in Petitioner’s Rule

59(e) motion.

      Petitioner argued the state court’s adjudication was an unreasonable

application of settled federal law because Petitioner was prevented from offering




    Case 1:99-cv-00764-WO-JLW Document 152 Filed 01/12/15 Page 1 of 11
evidence in state court in support of his claim due to barriers erected by the state

courts, and not due to Petitioner’s lack of diligence. (Docket No. 149 at 3) Under

the Fourth Circuit’s precedent in Winston v. Pearson, 683 F.3d 489, 501 (4th Cir.

2012), there was no opportunity for Petitioner to proffer this evidence to the trial

court or to the reviewing court, despite repeated requests for access to the criminal

records of prospective jurors. Respondent points to the Fourth Circuit’s decision in

Burr v. Branker, 513 Fed. Appx. 327 (4th Cir. 2013), as saying something new.

(Docket No. 151 at 4) It did not. Burr reiterates the Winston I precedent that “the

state court decision might not be deemed an adjudication on the merits for

purposes of §2254(d) if diligent counsel was unable to complete the state court

record because the ‘state court unreasonably refuse[d] to permit further

development of the facts of a claim.’” Burr, 513 Fed. Appx. at 341 (citing Winston

II, 683 F.3d 489, 496 (4th Cir. 2012).1 The state court’s refusal to allow Petitioner

access to the criminal records that were in the prosecutor’s possession

unreasonably prevented Petitioner from supporting his claim in the trial court with




1
  In Burr, the Fourth Circuit determined that Burr had not been prevented from
submitting evidence in state post conviction proceedings and had not been diligent
in seeking to do so. That situation does not equate to the present case, where
Petitioner repeatedly asked for access to the pertinent evidence at trial and had no
ability to add the evidence during his direct appeal.

                                         2



     Case 1:99-cv-00764-WO-JLW Document 152 Filed 01/12/15 Page 2 of 11
additional evidence.2 Obviously, once the trial court denied Petitioner access to the

documents, he had no conceivable way to supplement the record on direct appeal.

N.C. Rule of Appellate Procedure 9(a)(3).

      If, as the Respondent argues, Petitioner should have presented his additional

evidence to the state court before coming to federal court, then he would have had

to present this evidence in his state court post-conviction proceedings. But any

failure to do so is not without a remedy now. Petitioner sought permission from

this Court to stay his federal habeas proceedings so he could present the new

evidence to the state court in order to exhaust the claim in state court with the

additional evidence. Respondent argues that Petitioner cannot now present the

evidence in state court because he failed to present it during his initial state court

proceedings, despite the fact that the state courts barred Petitioner from access to

the evidence.

      However, to the extent that Petitioner’s only opportunity to submit evidence

in support of his claim was in his initial state post-conviction proceedings, then, as


2
  Furthermore, some of the evidence that Petitioner has offered in this Court to
support his claim clearly demonstrates that the state actors gave false answers to
the trial court. Thus, it is manifest injustice to allow the Respondent to profit from
his ability to keep relevant evidence from Petitioner that shows the District
Attorney’s ostensibly race-neutral reasons had no basis in fact, see Brief on
Remand at 11, 12-14 (Docket No. 117); see also Banks v. Dretke, 540 U.S. 668,
698 (2004) (finding “cause” to excuse a procedural bar where prosecutors had
falsely represented at trial and in state post-conviction proceedings that the State
had provided all relevant materials in discovery).
                                          3



     Case 1:99-cv-00764-WO-JLW Document 152 Filed 01/12/15 Page 3 of 11
this Court is well aware, recent decisions by the United States Supreme Court in

Martinez v. Ryan, 132 S. Ct. 1309 (2012), and Trevino v. Thaler, 133 S. Ct. 1911

(2013), provide an avenue for further litigation under these circumstances. In

Juniper v. Davis, 737 F.3d 288 (4th Cir. 2013), the Fourth Circuit held that a habeas

petitioner who is represented by the same counsel in state post-conviction and

federal habeas corpus proceedings is entitled to the appointment of “qualified and

independent counsel” to investigate the ineffectiveness of state post-conviction

counsel in order to raise claims of ineffective assistance of trial counsel that might

otherwise be procedurally barred. Juniper, 737 F.3d at 290; see also Martinez, 132

S.Ct. at 1315 (holding that the “[i]nadequate assistance of counsel at the initial-

review collateral proceedings may establish cause for a prisoner’s procedural

default of a claim of ineffective assistance at trial”). Thus, under the holdings in

Martinez and Trevino, the state post-conviction counsel’s error in failing to present

evidence supporting the Batson claim in state post-conviction proceedings should

serve as cause for the failure to present this evidence in state court.     If, under

Cullen v. Pinholster, 131 S.Ct. 1388 (2011), this Court is barred from considering

any evidence not presented first to the state courts, despite the roadblocks put in

Petitioner’s way, then Petitioner must be permitted to either return to state court to

exhaust his claim with the additional evidence, as requested in his motion to alter




                                          4



     Case 1:99-cv-00764-WO-JLW Document 152 Filed 01/12/15 Page 4 of 11
or amend3 or present any claim of ineffective assistance of trial counsel that was

not raised in Petitioner’s motion for appropriate relief due to the ineffectiveness of

state post-conviction counsel.4 Contrary to Respondent’s assertions that the filing

of a motion for appropriate relief in state court would be “undoubtedly barred”

(Docket No. 151 at 9), there is a good basis for the filing of such a motion in state

court given the new evidence first developed through discovery in this Court and

the failure of state post-conviction counsel to offer such evidence in initial post-

conviction proceedings.       See N.C. Gen. Stat. §15A-1419(b) (identifying

circumstances under which a successive motion for appropriate relief may be

granted)

      Petitioner also requested that this Court grant his motion to alter or amend its

judgment insofar as this Court determined that the state court did not unreasonably

apply Batson despite the state court’s refusal to assess the prosecutor’s purportedly

race-neutral reasons for peremptory strikes of African-American prospective jurors


3
  See Harden v. Lassiter, No. 11-8 (Docket No. 50, 29 August 2012); Forte v.
Lassiter, No. 12-3 (Docket No. 23, 31 July 2012) (orders allowing motions to stay
in Fourth Circuit) (attached to Petitioner’s motion to alter or amend); see also
Morgan v. Lassiter, No. 12-6 (Docket No. 13, 4 January 2013) (order by Fourth
Circuit allowing motion to hold case in abeyance pending exhaustion of facts and
issues in state court) (copy of Order attached).
4
   See Morgan v. Lassiter, No. 12-6 (Docket No. 19, 26 June 2014) (order
permitting appointment of Martinez counsel and for remand from Fourth Circuit to
federal district court to investigate and file additional claims) (copy of Order
attached).
                                          5



     Case 1:99-cv-00764-WO-JLW Document 152 Filed 01/12/15 Page 5 of 11
by comparing similarly-situated white prospective jurors. (Docket No. 149 at 4-5)

Respondent incorrectly argues that the state court’s adjudication was not

unreasonable and claims that comparative juror analysis was undertaken in this

case. (Docket No. 151 at 7) While the state supreme court mentioned that a state

court is to look at, among other things, “whether similarly situated whites were

accepted as jurors,” it emphatically rejected comparative juror analysis,

specifically finding fault with Petitioner’s “approach” to comparative juror

analysis. And thus it engaged in no comparative juror analysis of its own. State v.

Kandies, 467 S.E.2d 67, 75-76 (N.C. 1996). Oddly, Respondent then points to two

places in the Fourth Circuit’s opinion where the Fourth Circuit acknowledged the

importance of comparative juror analysis. (Docket No. 151 at 8, citing Kandies v.

Polk, 385 F.3d 457, 479, 494-97 (2005).           Furthermore, the case cited by

Respondent in support of its argument that the state court adjudication in this case

was not unreasonable, Nicklasson v. Roper, 491 F.3d 830 (8th Cir. 2007), actually

included comparative juror analysis, which was not the case here.

      For all the reasons stated in Petitioner’s motion to alter or amend, and for the

reasons discussed herein, Petitioner asks that this Court grant Petitioner’s motion,

stay the judgment to permit Petitioner to exhaust his claims in state court, or issue

a certificate of appealability in the four issues presented in his motion to alter or




                                          6



     Case 1:99-cv-00764-WO-JLW Document 152 Filed 01/12/15 Page 6 of 11
amend. In the alternative, Petitioner requests that this Court stay the judgment to

permit him to file a claim in this Court under Martinez.



      Respectfully submitted, this the 12th day of January, 2015.



                                       /s/ M. Gordon Widenhouse, Jr.         .
                                       M. Gordon Widenhouse, Jr.
                                       N.C. Bar #10107
                                       312 West Franklin Street
                                       Chapel Hill, North Carolina 27516
                                       Telephone: (919) 967-4900
                                       Telefax: (919) 967-4953



                                       /s/ Shelagh Rebecca Kenney        .
                                       Shelagh Rebecca Kenney
                                       N.C. Bar #28202
                                       Center For Death Penalty Litigation
                                       123 West Main Street, Suite 700
                                       Durham, North Carolina 27701
                                       Telephone: (919) 956-9545
                                       Telefax: (919) 956-9547




                                         7



     Case 1:99-cv-00764-WO-JLW Document 152 Filed 01/12/15 Page 7 of 11
                          CERTIFICATE OF SERVICE

      I hereby certify that on January 12, 2015, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of
such filing to the following: Danielle Marquis Elder, Special Deputy Attorney
General, at dmarquis@ncdoj.gov, and Peter A. Regulski, Assistant Attorney
General, at pregulski@ncdoj.gov.

      Respectfully Submitted,


                                       /s/ Shelagh Rebecca Kenney        .
                                       Shelagh Rebecca Kenney
                                       N.C. Bar #28202
                                       Center for Death Penalty Litigation
                                       123 West Main Street, Suite 700
                                       Durham, North Carolina 27701
                                       Telephone: (919) 956-9545
                                       Telefax: (919) 956-9547




                                         8



     Case 1:99-cv-00764-WO-JLW Document 152 Filed 01/12/15 Page 8 of 11
Appeal: 12-6    Doc: 13        Filed: 01/04/2013     Pg: 1 of 1


                                                                       FILED: January 4, 2013

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                         ___________________

                                                No. 12-6
                                          (1:09-cv-00416-RJC)
                                         ___________________


         JAMES LEWIS MORGAN

                      Petitioner - Appellant

         v.

         WARDEN KENNETH E. LASSITER, Central Prison, Raleigh, North Carolina

                      Respondent - Appellee

                                         ___________________

                                              ORDER
                                         ___________________

                Upon consideration of the submissions relative to the motion to hold this case

         in abeyance pending exhaustion of facts and issues in state court, the court grants

         the motion. The parties are directed to notify this court in writing promptly upon

         issuance of the state court's decision.

                                                   For the Court

                                                   /s/ Patricia S. Connor, Clerk




               Case 1:99-cv-00764-WO-JLW Document 152 Filed 01/12/15 Page 9 of 11
Appeal: 12-6    Doc: 19        Filed: 06/26/2014   Pg: 1 of 2



                                                                        FILED: June 26, 2014

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                        ___________________

                                               No. 12-6
                                         (1:09-cv-00416-RJC)
                                        ___________________
         JAMES LEWIS MORGAN

                       Petitioner - Appellant

         v.

         WARDEN KENNETH E. LASSITER, Central Prison, Raleigh, North Carolina

                       Respondent - Appellee

                                        ___________________

                                             ORDER
                                        ___________________

                Appellant has moved for appointment of independent, qualified counsel

         under Martinez v. Ryan, 132 S. Ct. 1309 (2012), and for remand to the district court

         to permit Martinez counsel to investigate and file any additional claims in the

         district court within 180 days of appointment. Appellee has filed a response in

         opposition.

                The court grants the motion. The clerk is directed to appoint Martinez

         counsel and remand the case to the district court for counsel to file any additional




               Case 1:99-cv-00764-WO-JLW Document 152 Filed 01/12/15 Page 10 of 11
Appeal: 12-6    Doc: 19      Filed: 06/26/2014     Pg: 2 of 2


         claims within 180 days of the order of appointment.

                                                 For the Court

                                                 /s/ Patricia S. Connor, Clerk




               Case 1:99-cv-00764-WO-JLW Document 152 Filed 01/12/15 Page 11 of 11
